                            UNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 NASHVILLE DIVISION

UNITED STATES OF AMERICA                      )
                                              )       Case No. 2:00-CR-00002-1
       v.                                     )
                                              )       JUDGE TRAUGER
R.V. YOUNG                                    )

               UNITED STATES’ RESPONSE TO DEFENDANT’S
      MOTION FOR SENTENCE REDUCTION UNDER 18 U.S.C. § 3582(c)(1)(A)(i)

       This case is before the court on defendant Young’s motion seeking a reduced sentence

pursuant to Section 603(b) of the First Step Act. The United States opposes the motion.

                                     Procedural Background

       In February 2000, defendant was indicted for five bank robberies that occurred in the

Middle District of Tennessee between 1997 and 1998. (Presentence Report (PSR) at ¶ 13-19, 86.

In July 2000, after a three-day jury trial, defendant was sentenced to ninety-two years in prison.

For more than nine years after sentencing, defendant litigated multiple post-conviction motions

and claims, including pro se motions to the Sixth Circuit asserting ineffective assistance of counsel

under 28 U.S.C. § 2255.

       Defendant’s direct appeal to the Sixth Circuit was denied, as was his pro se motion under

28 U.S.C. § 2255 seeking to set aside his convictions based upon claims of ineffective assistance

of counsel. In October 2012 defendant’s Petition for Writ of Cert was denied by the Supreme

Court. In September 2019, defendant filed a motion under the First Step Act of 2018 seeking

immediate release pursuant to 18 U.S.C. § 3582(c)(1)(A)(i), which provides for compassionate

release in extraordinary and compelling circumstances.



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                                         Legal Background

       A term of imprisonment may be modified only in limited circumstances. 18 U.S.C. §

3582(c). Defendant argues that his sentence may be reduced under 18 U.S.C. § 3582(c)(1)(A)(i),

which states:


                     “ . . .the court, upon motion of the Director of the Bureau
                of Prisons, or upon motion of the defendant after the
                defendant has fully exhausted [administrative remedies],
                may reduce the term of imprisonment ... if it finds that [ ]
                extraordinary and compelling reasons warrant such a
                reduction ... and that such a reduction is consistent with the
                applicable policy statements issued by the Sentencing
                Commission. “


                 The First Step Act and Compassionate Release

       Until recently, only the Director of the Bureau of Prisons (“BOP”) could move for a

sentence modification under 18 U.S.C. § 3582(c)(1)(A)(i). Under prior law, the BOP controlled

whether an inmate could get relief, because a court could not act unless the Director of BOP first

filed the necessary motion. See, e.g., United States v. Smartt, 129 F.3d 539, 541 (10th Cir. 1997)

(petitioner not entitled to compassionate release absent motion from BOP Director); Fernandez v.

United States, 941 F.2d 1488, 1493 (11th Cir. 1991) (district court cannot review BOP’s refusal to

file motion for release); Salvagno v. Dir., Bureau of Prisons, No. 3:17cv318 (MPS), 2017 WL

5159214 (D. Conn. Nov. 7, 2017) (extensive discussion of case law).

       Passage of the First Step Act has enabled a defendant to file a motion for compassionate

release directly with the sentencing court, provided that he first exhausts administrative remedies

with the BOP. After the exhaustion requirement is satisfied, a district court may reduce a

defendant’s sentence if the defendant can show that: (1) extraordinary and compelling

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circumstances warrant a reduction; and (2) a reduction would be consistent with applicable

Sentencing Commission policy. See First Step Act, Pub. L. No. 115-391, § 603(b), 132 Stat.

5194, 5239 (2018).

                            The Sentencing Commission Policy Statement

       Prior to passage of the First Step Act, the Sentencing Commission issued a policy statement

with regard to compassionate release, which is found in U.S.S.G. § 1B1.13, and the accompanying

Application Notes. The Sentencing Commission policy statement provides that extraordinary and

compelling reasons for a sentence reduction exist under the following circumstances:

       Application Notes:

       1.     Extraordinary and Compelling Reasons:

              (A) Medical Condition of the Defendant.—

                      (i) The defendant is suffering from a terminal illness (i.e., a serious and

                      advanced illness with an end of life trajectory)....

                      (ii) The defendant is—

                             (I) suffering from a serious physical or medical condition,

                             (II) suffering from a serious functional or cognitive impairment, or

                             (III) experiencing deteriorating physical or mental health because

                             of the aging process,

              that substantially diminishes the ability of the defendant to provide self-care within

              the environment of a correctional facility and from which he or she is not expected

              to recover.




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              (B) Age of the Defendant — The defendant: (i) is at least 65 years old; (ii) is

       experiencing a serious deterioration in physical or mental health because of the aging

       process; and (iii) has served at least 10 years or 75 percent of his or her term of

       imprisonment, whichever is less.

              (C) Family Circumstances.—

                      (i) The death or incapacitation of the caregiver of the defendant’s minor

                      child or minor children.

                      (ii) The incapacitation of the defendant’s spouse or registered partner

                      when the defendant would be the only available caregiver for the spouse

                      or registered partner.

              (D) Other Reasons — As determined by the Director of the Bureau of Prisons,

       there exists in the defendant’s case an extraordinary and compelling reason other than, or

       in combination with, the reasons described in subdivisions (A) through (C).

       See U.S.S.G. § 1B1.13, A.N. 1 (“Application Note 1”). See United States v. Morgan, No.

       14-cr-329 JCM (GWF), 2019 WL 1427538, at *2 (D. Nev. Mar. 29, 2019); see also 28

       U.S.C. § 994(a)(2)(C) (authorizing the Sentencing Commission to promulgate policy

       statement regarding 18 U.S.C. § 3582(c)).

       The Sentencing Commission’s policy statement has not been amended to reflect that, under

the First Step Act, a defendant may now move for compassionate release after exhausting

administrative remedies.    Thus, while the Sentencing Commission’s policy statement might

provide helpful guidance on the factors that support compassionate release, it is not ultimately




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conclusive given the statutory change.” See United States v. Fox, No. 2:14-cr-03-DBH, 2019 WL

3046086, *3 (D. Me. July 11, 2019).

                                           Argument

              There are no Compelling and Extraordinary Reasons Presented

       Defendant’s motion seeks compassionate release based on “compelling and extraordinary

reasons” as described in U.S.S.G. § 1B1.13, Application Note 1, subdivision A (ii). However,

the evidence offered by defendant does not reach the level of compelling or extraordinary, and his

motion should be denied. Medical records presented by defendant confirm that he has been and

continues to be treated with prescription medicine for various age-relate medical issues, including

daily shots each day for diabetes and daily medication for cholesterol (hyperlipidemia) and high-

blood pressure (hypertension). Defendant’s medical records show that his treatment is current

and on-going. His most pressing medical issues appear to be ongoing treatment for Stage 2

chronic kidney disease and cataracts in both of his eyes. Each of his medical issues appear to

have been properly treated by medical professionals.

       While defendant’s medical conditions are aggravating and sometimes frustrating, they

mostly appear to be age related and do not rise to the level of life threatening conditions. Each

ache and pain complained of by the defendant can be treated at the prison by BOP physicians.

       While Congress never defined what constitutes an “extraordinary and compelling reason”,

it’s clear that under prior law, in assessing the merits of an inmate’s motion for compassionate

release under Section 3582(c)(1)(A), the court’s ultimate decision must be “consistent with

applicable policy statements issued by the Sentencing Commission.” Some insight comes from

28 U.S.C. § 994(t), which provides:        “The Commission, in promulgating general policy


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statements regarding the sentencing modification provisions in section 3582(c)(1)(A) of title 18,

shall describe what should be considered extraordinary and compelling reasons for sentence

reduction, including the criteria to be applied and a list of specific examples. Rehabilitation of

the defendant alone shall not be considered an extraordinary and compelling reason.”

Accordingly, the policy statement of the Commission is binding on the court. See Dillon v. United

States, 560 U.S. 817, 827 (2010) (where 18 U.S.C. § 3582(c)(2) permits a sentencing reduction

based on a retroactive guideline amendment, “if such a reduction is consistent with applicable

policy statements issued by the Sentencing Commission,” the Commission’s pertinent policy

statements are binding on the court).

       The defendant’s assertions do not provide a basis for a finding that his various medical

conditions meet the requirements of subdivision (A) of Application Note 1 (U.S.S.G. § 1B1.13).

       i)      He is not suffering from a terminal illness;

       ii)     He is not suffering from a serious physical or medical condition;

       iii)    He is not suffering from a serious functional or cognitive impairment;

       iv)     He does not seem to be in deteriorating physical or mental health;

       v)      He is able to provide self-care.

       While defendant complains of needing daily shots for diabetes and daily medication for

cholesterol (hyperlipidemia) and high-blood pressure (hypertension), such medical issues are not

extraordinary and compelling reasons to justify compassionate release. His medical issues are

treatable by prison medical staff.

       In all of the above, medical records submitted as exhibits to defendant’s motion show that

defendant’s medical condition has been stable. The records do not support a finding that his



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condition is so debilitating as to substantially diminish his ability to provide self-care. See White

v. United States, 378 F. Supp. 3d 784, 787 (W.D. Mo. 2019) (denying motion for compassionate

release by defendant who was legally blind and had osteoarthritis in both knees but did not require

assistance with daily activities).

        Under the First Step Act, a court may reduce a sentence even if the BOP opposes the

reduction. However, under the First Step Act, the court still must find that the reduction is

“consistent with applicable policy statements issued by the Sentencing Commission.” 18 U.S.C.

§ 3582(c)(1)(A). Such a reduction in this case, based on compassionate release, would not be

consistent with applicable policy statements issued by the Sentencing Commission.

                                            Conclusion

        For these reasons, the United States opposes defendant’s motion for compassionate release.



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       CERTIFICATE OF SERVICE

       I hereby certify that on January 20, 2020, I electronically filed the foregoing with the
Clerk of the Court using the CM/ECF system, which will send notification of such filing to
counsel of record:

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                                                     /s/ John K. Webb
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